Case 8:18-cv-02843-VMC-JSS Document 46 Filed 03/18/19 Page 1 of 3 PageID 318
              Case: 19-10461 Date Filed: 03/14/2019 Page: 1 of 3


                         UNITED STATES COURT OF APPEALS
                            FOR THE ELEVENTH CIRCUIT
                            ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                          56 Forsyth Street, N.W.
                                          Atlanta, Georgia 30303

David J. Smith                                                                     For rules and forms visit
Clerk of Court                                                                     www.ca11.uscourts.gov


                                        March 14, 2019

Clerk - Middle District of Florida
U.S. District Court
801 N FLORIDA AVE
TAMPA, FL 33602-3849

Appeal Number: 19-10461-GG
Case Style: Wade Gardner, et al v. William Mutz, et al
District Court Docket No: 8:18-cv-02843-VMC-JSS

The enclosed copy of the Clerk's Entry of Dismissal for failure to prosecute in the above
referenced appeal is issued as the mandate of this court. See 11th Cir. R. 41-4.

Sincerely,

DAVID J. SMITH, Clerk of Court

Reply to: Joe Caruso, GG
Phone #: (404) 335-6177

Enclosure(s)




                                                               DIS-2 Letter and Entry of Dismissal
Case 8:18-cv-02843-VMC-JSS Document 46 Filed 03/18/19 Page 2 of 3 PageID 319
              Case: 19-10461 Date Filed: 03/14/2019 Page: 2 of 3




                      IN THE UNITED STATES COURT OF APPEALS

                               FOR THE ELEVENTH CIRCUIT

                                        ______________

                                       No. 19-10461-GG
                                       ______________

WADE STEVEN GARDNER,
MARY JOYCE STEVENS,
RANDY WHITTAKER,
In Official Capacity at Southern War Cry,
VETERANS MONUMENTS OF AMERICA, INC.,
Andy Strickland, US Army Ret, President,
PHIL WALTERS,
In his Official Capacity as 1st Lt. Commander of the
Judah P. Benjamin Camp # 2210 Sons of Confederate Veterans,
KEN DANIEL,
In his Official Capacity as Director of
Save Southern Heritage, Inc. Florida,
RANDY WHITTAKER,
Individually,

                                                  Plaintiffs - Appellants,

versus

WILLIAM MUTZ,
In his Official Capacity as Mayor of the City of Lakeland, Florida,
TONY DELGADO,
In his Official Capacity as Administrator of the City of Lakeland, Florida,
DON SELVEGE,
In his Official Capacity as City of Lakeland, Florida Commissioner,
JUSTIN TROLLER,
In his Official Capacity as City of Lakeland, Florida Commissioner,
PHILLIP WALKER,
In his Official Capacity as City of Lakeland, Florida Commissioner,
FLORIDA SECRETARY OF STATE, et al.,

                                                  Defendants - Appellees.
Case 8:18-cv-02843-VMC-JSS Document 46 Filed 03/18/19 Page 3 of 3 PageID 320
              Case: 19-10461 Date Filed: 03/14/2019 Page: 3 of 3




                      __________________________________________

                         Appeal from the United States District Court
                              for the Middle District of Florida
                      __________________________________________

ENTRY OF DISMISSAL: Pursuant to the 11th Cir.R.42-1(b), this appeal is DISMISSED for
want of prosecution because the appellants failed to file a Civil Appeal Statement form within
the time fixed by the rules, effective March 14, 2019.

                                      DAVID J. SMITH
                           Clerk of Court of the United States Court
                              of Appeals for the Eleventh Circuit

                              by: Joe Caruso, GG, Deputy Clerk

                                                         FOR THE COURT - BY DIRECTION
